Case 2:22-cr-00047-AWA-LRL Document 2 Filed 04/08/22 Page 1 of 9 PagelD# 3

FILED

   

APR -8 2022

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF VIRGINIA a
CLERK, US. DISTRICT COURT

 

TS ee

 

NORFOLK, VA
Norfolk Division

UNITED STATES OF AMERICA )
)

) Case No. 2:22-mj- 3 ¥
v. )
)
)
PATRICK TATE ADAMIAK )

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

Your affiant, William Hairston Jr., being duly sworn, states as follows:
Introduction and Agent Background
Js I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and

Explosives, and have been since July 2014. I completed the Criminal Investigator Training
Program at the Federal Law Enforcement Training Center in Brunswick, GA in October 2014. I
also completed Special Agent Basic Training at the Bureau of Alcohol, Tobacco, Firearms, and
Explosives training center. I graduated with a Master of Arts in Criminology from Georgia State
University in May 2014. I currently investigate violations of Federal law which primarily
involve firearms. During my time with ATF, I have done numerous investigations which utilize
information from email providers and other digital sources. Due to my training and experience, |
am familiar with illegal firearms trafficking and how many of these transactions are facilitated by
using computers. This affidavit is intended to show only that there is sufficient probable cause

for the requested warrant and does not set forth all of my knowledge about this matter.
Case 2:22-cr-00047-AWA-LRL Document 2 Filed 04/08/22 Page 2 of 9 PagelD# 4

2. The United States is investigating the possession and transfer of post-ban
machineguns! and possession of a firearm not registered to the individual in the National
Firearms Registration and Transfer Record. The investigation concerns possible violations of,
inter alia, Title 18, U.S.C. § 922(0) and Title 26, U.S.C. § 5861(d).

3. This affidavit is submitted in support of the attached criminal complaint charging
Patrick Tate ADAMIAK, with 26 U.S. Code § 5861 which states, “It shall be unlawful for any
person (d) to receive or possess a firearm which is not registered to him in the
National Firearms Registration and Transfer Record.”

4, The facts and information contained in this affidavit are based on my personal
knowledge and observations, information conveyed to me by other law enforcement officials, and
my review of records, documents, and other physical evidence obtained during the investigation
of this case. All observations referenced below that were not personally made by me were related
to me by the persons who made such observations.

5. This affidavit contains information necessary to support probable cause for the
application. It is not intended to include each, and every fact and matter observed by or known to
me. Unless specifically indicated, all conversations and statements described in this affidavit are
related in substance and in part only and are not intended to be a verbatim recitation of such

statements.

 

! The term “machinegun” is defined in Title 26, U.S.C. § 5845(b) as “any weapon which shoots, is designed to
shoot, or can be readily restored to shoot, automatically more than one shot, without manual reloading, by a single
function of the trigger. The term shall also include the frame or receiver of any such weapon, any part designed and
intended solely and exclusively, or combination of parts designed and intended, for use in converting a weapon into
a machinegun, and any combination of parts from which a machinegun can be assembled if such parts are in the
possession or under the control of a person”.

2
Case 2:22-cr-00047-AWA-LRL Document 2 Filed 04/08/22 Page 3 of 9 PagelD# 5

Summary of Probable Cause

1, The United States is investigating the possession and transfer of post-ban
machineguns and possession of a firearm not registered to the individual in the National Firearms
Registration and Transfer Record. The investigation concerns possible violations of, inter alia,
Title 18, U.S.C. § 922(0) and Title 26, U.S.C. § 5861(d).

2, Special Agents of the ATF have received information from the following source
concerning the illegal transfer of machineguns:

3. Confidential Source (CS) was working under the direction and control of the
ATF: On October 27, 2021, CS provided information to the ATF regarding the firearms
trafficking practices of PATRICK TATE ADAMIAK (herein after ADAMIAK). CS had
personal knowledge of ADAMIAK’s activities, having previously sold firearm’s parts to
ADAMIAK. The CS stated that he/she texted ADAMIAK stating that he/she met someone at
Knob Creek Range, who was looking to purchase Thompson machinegun parts. ADAMIJAK
agreed to allow the CS to give his email address to this individual. The CS stated that
ADAMIAK sells machineguns and makes one cut through the receiver or magazine well so that
the firearm is readily and easily made into a machinegun once the receiver is wielded back
together.

4. The information provided by the CS regarding ADAMIAK has been corroborated
as detailed herein, by myself and other law enforcement officers and databases, CS has not, to
my knowledge, provided me or any other law enforcement officer with any false information
about ADAMIAK’s firearms trafficking activities. For these reasons, I consider the information

provided by the CS to be reliable.
Case 2:22-cr-00047-AWA-LRL Document 2 Filed 04/08/22 Page 4 of 9 PagelD# 6

3 CS has provided reliable and actionable information to law enforcement for
consideration on pending judicial charges involving felon in possession of firearm. No promises
or guarantees were made by investigators in order to gain CS’s cooperation. CS has provided
information that has led to arrests and seizures of contraband in separate, unrelated
investigations. CS’s criminal history includes 1996 felony conviction for firearms violations and
for unlawful transferring of firearms, a 1999 felony conviction for firearms and explosives
violations, a 2000 conviction for being a felon in possession of a firearm, firearms related
supervised released violations, and a 2009 conviction for being a felon in possession of
ammunition. Based on CS’s ability to conduct recorded, firearms trafficking-related phone calls
to ADAMIAK, I believe the information that he/she provided to be credible and reliable.

Recent Investigation

6. On October 26, 2021, the CS contacted ADAMIAK at
BlackDogArsenal@Gmail.com using the Undercover (UC) name “Rick Hayes” and the UC
email account BatCaveOrdnance@gmail.com. The name listed to

BlackDogArsenal@Gmail.com is Patrick ADAMIAK. The CS initiated the conversation

 

through email by stating that he/she found ADAMIAK’s information at Knob Creek and that the
CI wanted to purchase “Thompson things”. The CS is referring to Thompson machineguns.

7. ADAMIAK replied that he stocks a good bit of the small receiver parts for
Thompson machineguns, but he just sold three single cut receivers to an individual that lives out
of state. ADAMIAK also attached a picture of what appeared to be a Thompson machinegun
receiver with a single cut through it. ADAMIAK went on to say that he currently has PPS43 and
a PPSH41 single-saw-cut receivers for sale. He stated that the suspected machinegun receivers

sell faster than he can get them. The CS requested to purchase a pair of the PPS43 and the
Case 2:22-cr-00047-AWA-LRL Document 2 Filed 04/08/22 Page 5 of 9 PagelD# 7

PPSH41 suspected machinegun receivers for $3,000.00. ADAMIAK declined and stated that he
usually sells them for $2,000.00 each but will sell both to the CS for a total of $3,250.00.
ADAMIAK stated that his mailing information is: Tate ADAMIAK, 4421 St. Mark Road,
Virginia Beach, VA 23455. Agents conducted a search of this address using Accurint and found
that this address was listed to the name Patrick Tate ADAMIAK.

8. On November 8, 2021, the CS emailed ADAMIAK at

BlackDogArsenal(@Gmail.com and requested that ADAMIAK send one of the machinegun

 

receivers for $2,200.00 so that the CS can make sure the receiver is not warped or damaged.
ADAMIAK agreed to the arrangement. On November 9, 2021, agents sent $2,200.00 in money
orders to ADAMIAK at 4421 St. Mark Road, Virginia Beach, VA 23455. On November 14,
2021, ADAMIAK emailed a tracking number to the CS. On November 18, 2021, agents
received a package addressed from www.BlackDogArsenal.com, Black Dog Arsenal, 3521 Bow
Creek Boulevard, Virginia Beach, VA 23452. The tracking number sent by ADAMIAK
matched the tracking number on the package. Upon opening the package, agents discovered a
PPSH-41 receiver with a single-saw-cut through it (as depicted below), meeting the definition of
a machinegun under Title 26, U.S.C § 5845(b). The PPSH-41 had a single cut through the

receiver, but could easily be made/restored into an operational machinegun.

| Exhibit 1 as received with one saw cut.

 

9. On November 9, 2021, I received documentation from the National Firearms
Registration and Transfer Record (NFRTR), which showed that ADAMIAK does have National

Firearms Act (NFA) weapons registered to him, but the PPSH-41 was not registered to him.

>
Case 2:22-cr-00047-AWA-LRL Document 2 Filed 04/08/22 Page 6 of 9 PagelD# 8

Therefore, ADAMIAK’s possession and transfer of the PPSH-41 receiver, an unregistered NFA
weapon, constitutes a violation of Title 26, U.S.C. § 5861.

10. On October 30, 2021, the CS emailed ADAMIAK that he would like to purchase
five PPS M43 suspected machineguns for an additional $7,050.00. ADAMIAK agreed to the
price. On November 23, 2021, agents sent $7,050.00 in money orders to ADAMIAK at 4421 St.
Mark Road, Virginia Beach, VA 23455. On December 8, 2021, agents received a package
addressed from Tate ADAMIAK, 4421 St. Mark Road, Virginia Beach, VA 23455. Upon
opening the package, agents discovered five Polish PPS M1943-type-saw-cut-receivers, each
meeting the definition of a machinegun under Title 26, U.S.C. § 5845(b). Each of the five
receivers had a single cut through them, but each could be readily made/restored into an
operational machinegun.

11. On December 2, 2021, the CS contacted ADAMIAK at
BlackDogArsenal@Gmail.com and stated, “Looks nice what would you have to have out of that
reasonably on the RPD?” The CI was referring to a Russian RPD machinegun. ADAMIAK
responded, “3k”. This means three thousand dollars. The CS replied that he would send the
money for the RPD machinegun next week. On December 15, 2021, agents sent $3,000.00 to
ADAMIAK at 4421 St. Mark Road, Virginia Beach, VA 23455. On December 27, 2021, agents
received a package addressed from www.BlackDogArsenal.com, Black Dog Arsenal, 3521 Bow
Creek Blvd, Virginia Beach, VA 23452. Upon opening the package, agents observed a Russian
RPD-type-saw-cut-receiver, meeting the definition of a machinegun under Title 26, U.S.C. §
5845(b). The Russian RPD machinegun receiver had a single cut through it (as depicted in the

image below) but could readily be made/restored into an operational machinegun.
Case 2:22-cr-00047-AWA-LRL Document 2 Filed 04/08/22 Page 7 of 9 PagelD# 9

 

|] Right side view of Exhibit 9 RPD-type machinegun receiver view having f
only one saw cut, note that three torch cuts in specific areas are required.

 

12. On January 28, 2022, an Undercover (UC) agent using the UC email account

previously used by the CS, contacted ADAMIAK at BlackDogArsenal(@Gmail.com and asked if

 

ADAMIAK still had possession of the M1. The agent was referring to a Thompson M1
machinegun. ADAMIAK replied that he no longer had a M1, but he did have a M1A1 that he is
willing to sell. A M1A1 is referring to a Thompson M1A1 machinegun. ADAMIAK also stated
that he will have another Russian RPD for sale in a few weeks.

13. Database records show that 4421 St. Mark Road, Virginia Beach, VA and 3521
Bow Creek Boulevard, Virginia Beach, VA, are both associated to ADAMIAK.

14. On February 10, 2022, a federal search warrant was obtained for records stored by
Google, Inc. related to Patrick ADAMIAK, owner of the PREMISES, requesting information
related to email account BLACKDOGARSENAL@Gmail.com. That information showed that
the Google, Inc. account is associated with Patrick ADAMIAK.

15, On March 15, 2022, agents sent $3,000.00 in money orders to ADAMIAK at
4421 St. Mark Road, Virginia Beach, VA 23455. On March 28, 2022, agents received a package
addressed from www.BLACKDOGARSENAL.com, Black Dog Arsenal, 3521 Bow Creek Blvd,
Virginia Beach, VA 23452. Upon opening the package, agents observed a Polish PPSH-type

saw-cut receiver.
Case 2:22-cr-00047-AWA-LRL Document 2 Filed 04/08/22 Page 8 of 9 PagelD# 10

16. On March 28, 2022, ADAMIAK stated that he has a PPSH machinegun kit for
sale for $3,250.00 and a Thompson machinegun kit for $3,500.00. On March 29, 2022, agents
responded and requested that he sell both for $6,000.00.

17. On April 7, 2022, Agents served a federal search warrant at 3521 Bow Creek
Boulevard, Virginia Beach, VA 23452. During the search, agents found five improvised
explosives devices (IEDs).

18. Also, April 7, 2022, Agents served a federal search warrant at 4421 St. Mark
Road, Virginia Beach, VA 23455. Prior to the initiation of the search warrant, agents observed
ADAMIAK exit 4421 St. Mark Road, Virginia Beach, VA 23455 and place several items
packaged to be mailed using the United States Postal Service. A traffic stop was conducted and
ADAMIAK was detained and transported back to 4421 St. Mark Rd, Virginia Beach, VA.
Agents observed several packages in the backseat of the vehicle and agents transported the
vehicle back to 4421 St. Mark Rd, Virginia Beach, VA. During the search of the residence,
agents found several suspected machineguns, documents, grenade launchers, and proceeds from
illegal activity.

Conclusion
Based on the foregoing, I submit there is probable cause to believe that on or about October
2021 through April 2022, Patrick Tate ADAMIAK committed the following offenses: (1)
Possesses and receive a machinegun not registered to him in the National Firearms Registration
and Transfer Record, in violation of 26 U.S.C. § 5861; (2) Possess and transfer a post-ban machine
gun and possess with intent to transfer a post-ban machinegun, in violation of 18 U.S.C. §922(0).
Therefore, your affiant requests that a warrant be issued for PATRICK TATE ADAMIAK for

violation of these two offenses.
Case 2:22-cr-00047-AWA-LRL Document 2 Filed 04/08/22 Page 9 of 9 PagelD# 11

ik AY

William S. Hairston Jr.
Special Agent Bureau of Alcohol, Tobacco,
Firearms, and Explosives

SUBSCRIBED and SWORN before me on this § of April 2002, in the City of Norfolk,
Virginia.

    

 

 

Lawrence R. Leonard ~ /
UNITED STATES MAGISTRATE JUDGE

Norfolk, Virginia
